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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

DAVID D. WILBON, RICO M. WILBON,                           )
and GEORGE J. SMITH,                                       )
                                                           )
                              Plaintiffs,                  )
       v.                                                  )
                                                           ) Case No. 12 C 1132
JOSEPH M. PLOVANICH, OFFICER                               )
MILLAN (Star # 6082), KEVIN A. GRANEY,                     ) Magistrate Judge M. David Weisman
ROBERT MANGAN, MICHAEL T.                                  )
KARCZEWSKI, SARAH McDERMOTT,                               )
NOEL ESQUIVEL, ANTONIO J. VALENTIN,                        )
MARK A. KUSHINER, JORGE CERDA,                             )
ARMANDO SILVA, JR., RAFAEL S. GARCIA,                      )
J. J. GORZKOWSKI, UNKNOWN OFFICERS                         )
OF THE CHICAGO POLICE DEPARTMENT,                          )
and CITY OF CHICAGO,                                       )
                                                           )
                              Defendants.                  )

           PLAINTIFFS’ RENEWED MOTION TO ADMIT RULE 1006 SUMMARY OF
                                 INFORMATION

       Plaintiffs, DAVID. D. WILBON, RICO M. WILBON, and GEORGE J. SMITH, by and

through their attorneys, Irene K. Dymkar, Torreya L. Hamilton, and Shamoyita M. DasGupta, hereby

move this Court to admit a Rule 1006 summary of Chicago Public School salary information

available on a government website accessible to the public. In support thereof, plaintiffs state as

follows:

       1)      This is a case brought pursuant to 42 U.S.C. § 1983. Plaintiff David D. Wilbon makes

a claim of false arrest and malicious prosecution. He claims a lost employment opportunity as

damages.




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       2)      Mr. Wilbon was offered a Factor Custodial position with the Chicago Public Schools

at Leland Elementary School in August 2010. The mandatory start date was September 1, 2010,

because of the start of the school year.

       3)      Two counts of Aggravated Assault to a Police Office and one count of Mob Action

against David Wilbon were dismissed on September 10, 2010. As a result of the pending charges, the

Chicago Public School job offer was withdrawn. A man named Noel Gonzalez was offered the

Factor Custodial position and accepted; pending his availability, a substitute employee filled in.

       4)      Mr. Wilbon then began the application process for a much lower-paying Custodial

position. By the time the paperwork was completed, the criminal charges were dismissed. He was

offered the Custodial position at Leland Elementary School and accepted.

       5)      Mr. Gonzalez remains in the Factor Custodial position. Mr. Wilbon remains at the

lower paying Custodial position. Mr. Wilbon has lost substantial wages and benefits because of

defendants’ actions.

       6)      In response to plaintiffs’ subpoenas, the Chicago Board of Education has filed four

declarations regarding Chicago Public School records pertaining to David Wilbon:

               Two declarations by Carline Altine, Employee Records Manager, identifying and
               authenticating Plaintiffs’ Exhibit 19 as a business record under Fed.R. Evid. 803(6)
               (Doc. 518-2, 518-4)

               Declaration by Lauren Clair-McClellan, Director of Human Resource Operations,
               verifying that Position # 155314 was for the Factor Custodian position at Leland
               Elementary School, which “closed” (was phased out to new hires) on July 2, 2013
               (Doc. 518-6).

               Declaration by Theresa Tomcisin, Director of Web Services, verifying that Chicago
               Public Schools maintains a website accessible by members of the general public,
               https://cps.edu/About_CPS/Financial_information/Pages/EmployeePositionFiles.aspx,
               containing job position and salary information for employees from 2009 - 2018.



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         7)     Plaintiffs have asked the Court to take judicial notice of employee position and wage

information posted on the Chicago Public Schools website. Doc. 503. The Court ruled that it would

take judicial notice of Mr. Wilbon and a comparator’s salary information available on the website, but

denied admission of the Rule 1006 summary of information. Doc. 512. Plaintiffs renew the motion

for admission of the Rule 1006 summary.

         8)     The webpage

https://cps.edu/About_CPS/Financial_information/Pages/EmployeePositionFiles.aspx, contains links

to lengthy spreadsheets with employee wage information. The reports are each hundreds of pages

long.

         9)     Plaintiffs have simplified the summary chart of the wage information originally filed as

Doc. 503-3 by removing any columns containing information regarding benefits and any calculations

of wage differentials. The revised chart, attached as Exhibit A, now simply contains the date of the

report, the employee name, the job title, the position number, and the annual gross salary. All of this

information was obtained directly from the reports available at the above link to the Chicago Public

Schools website.

         10)    Plaintiffs have extracted the information pertaining to plaintiff David D. Wilbon and

Noel Gonzalez for each report filed between November 10, 2010, and June 30, 2018, and attached

those one-page extractions as Exhibits B - X for easy verification:

                Exhibit B is the 11/15/2010 report extract

                Exhibit C is the 8/1/2011 report extract

                Exhibit D is the 7/11/2012 report extract

                Exhibit E is the 10/1/2013 report extract


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               Exhibit F is the 12/31/2013 report extract

               Exhibit G is the 3/31/2014 report extract

               Exhibit H is the 6/30/2014 report extract

               Exhibit I is the 9/30/2014 report extract

               Exhibit J is the 12/30/2014 report extract

               Exhibit K is the 3/31/2015 report extract

               Exhibit L is the 6/30/2015 report extract

               Exhibit M is the 9/30/2015 report extract

               Exhibit N is the 12/31/2015 report extract

               Exhibit O is the 3/31/2016 report extract

               Exhibit P is the 6/30/2016 report extract

               Exhibit Q is the 9/30/2016 report extract

               Exhibit R is the 12/31/2016 report extract

               Exhibit S is the 3/31/2017 report extract

               Exhibit T is the 6/30/2017 report extract

               Exhibit U is the 9/30/2017 report extract

               Exhibit V is the 12/31/2017 report extract

               Exhibit W is the 3/31/2018 report extract

               Exhibit X is the 6/30/2018 report extract

       11)     The reports posted on the website from March 31, 2014 to June 30, 2018 were posted

on the website as Microsoft Excel documents. For each of these reports, in order to easily view the

pertinent information and be able to simultaneously see the relevant date to which that information

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pertained, plaintiffs downloaded the Excel document, kept it in a protected view that plaintiffs could

not edit, and took a screenshot of the relevant information.

       12)     The Court has already agreed to take judicial notice of this employee wage information

posted on the Chicago Public Schools’ website, Because the information in the linked reports is

voluminous and “cannot be easily examined in court,” plaintiffs ask, pursuant to Rule 1006, that a

summary be admitted as evidence. Plaintiff has prepared a simple summary that gathers together in

one chart all the information needed to compare Mr. Wilbon’s and Mr. Gonzalez’s salaries. Exhibit

A.

       13)     In addition, plaintiffs request that the Court read the following instruction to the jury in

the instant case:

               I have decided to accept as proved the following salary information appearing on the
               Chicago Public Schools government website, which you must now treat as having been
               proved for the purpose of this case:

               •       On November 15, 2010, David D. Wilbon’s annual gross salary was
                       $24,232.00, and Raymond Montanez, a substitute employee’s, annual gross
                       salary was $58,077.30.

               •       On August 1, 2011, David D. Wilbon’s annual gross salary was $24,752.00,
                       and Noel Gonzalez’s annual gross salary was $56,322.52.

               •       On July 11, 2012, David D. Wilbon’s annual gross salary was $26,104.00, and
                       Noel Gonzalez’s annual gross salary was $56,322.52.

               •       On October 1, 2013, David D. Wilbon’s annual gross salary was $29,891.00,
                       and Noel Gonzalez’s annual gross salary was $58,599.00.

               •       On December 31, 2013, David D. Wilbon’s annual gross salary was
                       $29,120.00, and Noel Gonzalez’s annual gross salary was $58,599.00.

               •       On March 31, 2014, David D. Wilbon’s annual gross salary was $29,120.00,
                       and Noel Gonzalez’s annual gross salary was $58,599.00.



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        •     On June 30, 2014, David D. Wilbon’s annual gross salary was $29,120.00, and
              Noel Gonzalez’s annual gross salary was $58,599.00.

        •     On September 30, 2014, David D. Wilbon’s annual gross salary was
              $33,733.00 and Noel Gonzalez’s annual gross salary was $59,771.00.

        •     On December 30, 2014, David D. Wilbon’s annual gross salary was
              $33,733.00, and Noel Gonzalez’s annual gross salary was $59,771.00.

        •     On March 31, 2015, David D. Wilbon’s annual gross salary was $33,733.00,
              and Noel Gonzalez’s annual gross salary was $59,771.00.

        •     On June 30, 2015, David D. Wilbon’s annual gross salary was $33,733.00, and
              Noel Gonzalez’s annual gross salary was $59,771.00.

        •     On September 30, 2015, David D. Wilbon’s annual gross salary was
              $34,840.00, and Noel Gonzalez’s annual gross salary was $60,966.00.

        •     On December 31, 2015, David D. Wilbon’s annual gross salary was
              $34,840.00, and Noel Gonzalez’s annual gross income was $60,966.00.

        •     On March 31, 2016, David D. Wilbon’s annual gross salary was $34,840.00,
              and Noel Gonzalez’s annual gross salary was $60,966.00.

        •     On June 30, 2016, David D. Wilbon’s annual gross salary was $34,840, and
              Noel Gonzalez’s annual gross salary was $60,966.00.

        •     On September 30, 2016, David D. Wilbon’s annual gross salary was
              $34,840.00, and Noel Gonzalez’s annual gross salary was $60,966.00.

        •     On December 31, 2016, David D. Wilbon’s annual gross salary was
              $34,840.00, and Noel Gonzalez’s annual gross salary was $60,966.00.

        •     On March 31, 2017, David D. Wilbon’s annual gross salary was $34,840.00,
              and Noel Gonzalez’s annual gross salary was $62,246.00.

        •     On June 30, 2017, David D. Wilbon’s annual gross salary was $34,840.00, and
              Noel Gonzalez’s annual gross salary was $62,246.00.

        •     On September 30, 2017, David D. Wilbon’s annual gross salary was
              $35,537.00, and Noel Gonzalez’s annual gross salary was $63,491.00.




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               •         On December 31, 2017, David D. Wilbon’s annual gross salary was
                         $35,537.00, and Noel Gonzalez’s annual gross salary was $63,491.00.

               •         On March 31, 2018, David D. Wilbon’s annual gross salary was $35,537.00,
                         and Noel Gonzalez’s annual gross salary was $63,491.00.

               •         On June 30, 2018, David D. Wilbon’s annual gross salary was $ 35,537.00, and
                         Noel Gonzalez’s annual gross salary was $63,491.00.

       WHEREFORE plaintiffs, DAVID D. WILBON, RICO M. WILBON, and GEORGE J.

SMITH, respectfully request that this Court admit into evidence Exhibit A, a Rule 1006 summary of

the information contained on the Chicago Public School website at webpage

https://cps.edu/About_CPS/Financial_information/Pages/EmployeePositionFiles.aspx, as it pertains

to David Wilbon and his comparator, Noel Gonzalez.


Dated: July 22, 2018                                    /s/   Irene K. Dymkar
                                                              Irene K. Dymkar


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